           Case 4:19-cv-00872-HSG Document 187 Filed 06/29/19 Page 1 of 3




     JAMES M. BURNHAM
 1
     Deputy Assistant Attorney General
 2   JOHN R. GRIFFITHS
     Director, Federal Programs Branch
 3   ANTHONY J. COPPOLINO
     Deputy Director, Federal Programs Branch
 4
     ANDREW I. WARDEN (IN #23840-49)
 5   Senior Trial Counsel
     KATHRYN C. DAVIS
 6   MICHAEL J. GERARDI
 7   LESLIE COOPER VIGEN
     RACHAEL WESTMORELAND
 8   Trial Attorneys
     U.S. Department of Justice
 9   Civil Division, Federal Programs Branch
10   1100 L Street, NW
     Washington, D.C. 20530
11   Tel.: (202) 616-5084
     Fax: (202) 616-8470
12
13   Attorneys for Defendants

14                               UNITED STATES DISTRICT COURT
                           FOR THE NORTHERN DISTRICT OF CALIFORNIA
15                                    OAKLAND DIVISION
16
17
      STATE OF CALIFORNIA, et al.,
18                                                                      No. 4:19-cv-00872-HSG
                            Plaintiffs,
19
                                                                       NOTICE OF APPEAL
20             v.

21    DONALD J. TRUMP, et al.,

22                          Defendants.

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     State of California, et al. v. Donald J. Trump, et al., 4:19-cv-00872-HSG – Defendants’ Notice of Appeal
           Case 4:19-cv-00872-HSG Document 187 Filed 06/29/19 Page 2 of 3




 1           PLEASE TAKE NOTICE that Defendants Donald J. Trump, President of the United
 2   States; Mark T. Esper, Acting Secretary of Defense; Kevin K. McAleenan, Acting Secretary of
 3   Homeland Security; David Bernhardt, Acting Secretary of the Interior; Steven T. Mnuchin,
 4   Secretary of the Treasury; Heather A. Wilson, Secretary of the Air Force; Richard V. Spencer,
 5   Secretary of the Air Force; David Bernhardt, Secretary of the Interior; Ryan D. McCarthy, Senior
 6   Official Performing the Duties of the Secretary of the Army; the Department of Defense; the
 7   Department of Homeland Security; the Department of the Treasury; the Department of the Interior;
 8   and the United States of America hereby appeal to the United States Court of Appeals for the Ninth
 9   Circuit from the Court’s Order granting In Part and Denying In Part Plaintiffs’ Motion for Partial
10   Summary Judgment, Denying Defendant’s Motion For Partial Summary Judgment, and Certifying
11   Judgment For Appeal and Directing Entry of Final Judgment under Rule 54(b) (ECF No. 185),
12   and the associated Judgment (ECF No. 186).
13
14
15   DATE: June 29, 2019                                           Respectfully submitted,
16                                                                 JAMES M. BURNHAM
17                                                                 Deputy Assistant Attorney General

18                                                                 JOHN G. GRIFFITHS
                                                                   Director, Federal Programs Branch
19
                                                                   ANTHONY J. COPPOLINO
20                                                                 Deputy Director, Federal Programs Branch

21                                                                 /s/ Andrew I. Warden
                                                                   ANDREW I. WARDEN
22                                                                 Senior Trial Counsel (IN Bar No. 23840-49)

23                                                                 RACHAEL L. WESTMORELAND
24                                                                 KATHRYN C. DAVIS
                                                                   MICHAEL J. GERARDI
25                                                                 LESLIE COOPER VIGEN
                                                                   Trial Attorneys
26
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     State of California, et al. v. Donald J. Trump, et al., 4:19-cv-00872-HSG – Defendants’ Notice of Appeal
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           Case 4:19-cv-00872-HSG Document 187 Filed 06/29/19 Page 3 of 3




                                                                   U.S. Department of Justice
 1
                                                                   Civil Division, Federal Programs Branch
 2                                                                 1100 L Street, NW
                                                                   Washington, D.C. 20530
 3                                                                 Tel.: (202) 616-5084
                                                                   Fax: (202) 616-8470
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     State of California, et al. v. Donald J. Trump, et al., 4:19-cv-00872-HSG – Defendants’ Notice of Appeal
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